       Case 4:09-cr-00284-BSM        Document 50     Filed 10/22/10    Page 1 of 5




                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                    PLAINTIFF

v.                             CASE NO. 4:09cr284 BSM

JAVIER TORRES-GUZMAN and
EFREN DIAZ-JASSO                                                         DEFENDANTS

                                         ORDER

       At issue is a question of grave societal importance: What is one to do when told,

“don’t believe your lying eyes”?

       This question arises out of separate defendant Javier Torres-Guzman’s (“Torres”)

motion to suppress drugs seized by Arkansas State Trooper Mike McNeill (“McNeill”)

during a vehicle search. [Doc. No. 28]. Separate defendant Efren Diaz-Jasso (“Diaz”), who

was a passenger in the car driven by Torres, joins in the motion. [Doc. No. 45]. Both

defendants assert that McNeill’s search was unlawful because he lacked probable cause and

did not have Torres’s consent to perform the search. The government opposes the motion,

asserting that Torres consented to the search.

       The motions, briefs, and evidence produced at that October 20, 2010 suppression

hearing focused on whether a reasonable person in McNeill’s position would have believed

that Torres knowingly and voluntarily consented to the search. Knowing and voluntary

consent is at issue because both Torres and Diaz assert that they do not understand English

and therefore could not have consented to the search. Indeed, both defendants essentially

assert that they had no clue what McNeill was talking about when he stopped them.
       Case 4:09-cr-00284-BSM         Document 50       Filed 10/22/10     Page 2 of 5




       At the suppression hearing, the government sought to establish (1) that Torres

understands English; (2) that he knew what McNeill was saying to him when McNeill asked

to search the car; and (3) that Torres knowingly and voluntarily consented to the search. In

support of this position, the government offered the testimony of James Lee White (“White”)

and McNeill, as well as the video tape of the stop.

       White testified that he worked with Torres at Moore Forest Products for at least three

years. He claimed that Torres only worked on a seasonal basis, from mid-summer to mid-

winter, but that he spoke to Torres daily during the seasons that Torres worked and that

Torres understood English. These conversations, always initiated by Torres, were typically

short and revolved around work. White testified that Torres spoke English at a level of five

on a scale of one to ten.

       McNeill testified that he believed Torres understood English when he stopped him.

He stated that he initiated the stop because Torres was not wearing his seatbelt. When he

informed Torres of the reason for the stop, Torres said that he was wearing his seatbelt while

driving but that he removed it when he was pulled over. McNeill maintained that it was this

interchange that led him to believe Torres understood English. He stated that it was only

after he asked Torres to get out of the car that Torres began to “act like” he did not

understand English. McNeill further testified that his patrol car has a video camera in it that

began recording the stop after Torres stepped out of the car. The video camera, according

to McNeill, had a low battery and was not on during the time that Torres told him that he was


                                              2
       Case 4:09-cr-00284-BSM         Document 50       Filed 10/22/10     Page 3 of 5




wearing his seatbelt.

       The government then offered the video tape which starts after Torres is out of the car.

The video tape does not show that Torres understands English. In fact, it clearly indicates that

Torres struggled mightily to understand what McNeill was saying to him. The tape is

approximately thirty-seven minutes long and it plays like an Abbott and Costello routine,

with McNeill playing Bud Abbott and Torres playing Lou Costello. Each statement made

by McNeill seems to illicit an increasingly confusing response by Torres, indicating that

Torres has no idea what McNeill is talking about.

       After a substantial period of time, McNeill finally asks Torres four times whether he

can search the car. Torres’s first response is inaudible. His second response is that it is his

cousin’s car. McNeill then explains that Torres can consent to the search because he is the

driver, to which Torres again says that it is his cousin’s car. McNeill again explains that

Torres may consent to the search, at which point Torres says “sure.”

       The video tape clearly shows that Torres could not have consented to McNeill’s

search because he did not understand what McNeill was saying to him. But hold on, the

government pulls out the “don’t believe your lying eyes” argument. It asserts that what one

cannot believe what one sees on the video because Torres is engaged in an act in order to

lead McNeill to believe that he does not understand English. The government points out that,

although the video shows one thing, it did not pick up the first part of the stop in which

Torres explained that he had on his seatbelt and took it off when he was stopped. The


                                               3
       Case 4:09-cr-00284-BSM        Document 50       Filed 10/22/10    Page 4 of 5




government further points to White’s testimony in which he stated that he worked with

Torres for three years, during which he conversed in English with Torres on a daily basis.

       In determining whether a search is consensual, “the Fourth Amendment requires only

that the police reasonably believe the search to be consensual.” United States v. Sanchez,

156 F.3d 875, 878 (8th Cir. 1998). “The precise question is not whether [defendant]

consented subjectively, but whether his conduct would have caused a reasonable person to

believe that he consented.” United States v. Jones, 254 F.3d 692, 695 (8th Cir. 2001).

       This case is peculiar because, although McNeill’s testimony alone is insufficient to

overcome the motion to suppress, White’s testimony support’s McNeill’s position that Torres

understands English. And once one believes that Torres understands English and that

McNeill had cause to believe Torres understood English, it is not a great leap to find that a

reasonable person would believe Torres voluntarily consented to the search when he

answered “sure” to McNeill’s request to search the car.

       As a final matter, Diaz does not have standing to challenge the search. Because Diaz

was only a passenger in the vehicle, he had no expectation of privacy, and therefore cannot

challenge the search. See U.S. v. Barragan, 379 F.3d 524, 529 (8th Cir. 2004) (“An

individual asserting Fourth Amendment rights ‘must demonstrate that he personally has an

expectation of privacy in the place searched, and that his expectation is reasonable [.]’”

(quoting Minnesota v. Carter, 525 U.S. 83, 88 (1998))); U.S. v. Green, 275 F.3d 694, 699

(8th Cir. 2001) (“The United States Supreme Court has explicitly determined that a person


                                             4
       Case 4:09-cr-00284-BSM        Document 50       Filed 10/22/10    Page 5 of 5




has no reasonable expectation of privacy in an automobile belonging to another.”) For this

reason, in addition to the reasons set forth above, Diaz’s motion is denied.

       For all of the reasons set forth above, the motions to suppress [Doc. Nos. 28, 45] are

denied.

       IT IS SO ORDERED this 22nd day of October, 2010.



                                                   ________________________________
                                                   UNITED STATES DISTRICT JUDGE




                                             5
